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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    4:02-CR-00201-02-JMM

JEROME ANDROW

                                             ORDER

       Pending is Defendant’s pro se Motion to Reduce Sentence (Doc. No. 192), based on the

retroactive application of the United States Sentencing Guidelines crack cocaine penalty

reduction, effective November 1, 2011.

       Defendant’s original guideline range was 108 to 135 months, but Defendant was

sentenced to the statutory minimum sentence of 120 months on August 27, 2004.1

       Not every person sentenced for a crack cocaine offense is eligible for a sentence

reduction. Only defendants currently serving a sentence determined or affected by a sentencing

range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially eligible.

However, there are some defendants for whom the recalculated guideline range, using amended §

2D1.1, will be less than the statutory minimum. In such cases, the defendant is not entitled to a

sentence reduction based on the Guideline Amendments2 -- except in some cases where a

defendant previously received a reduction for substantial assistance under either Rule 35 or

U.S.S.G. 5K1.1.


       1
           Doc. Nos. 99, 100.
       2
          See U.S.S.G. § 5G1.1(b) (“Where a statutorily required minimum sentence is greater
than the maximum of the applicable guideline range, the statutorily required minimum sentence
shall be the guideline sentence”). See also, the application notes to U.S.S.G. § 1B1.10(a) (Supp.
March 3, 2008) (“[T]he amendment does not have the effect of lowering the defendant’s
applicable guideline range because of the operation of another guideline or statutory provision
(e.g., a statutory mandatory minimum term of imprisonment).).

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       Since Defendant was sentenced to the statutory minimum, and did not receive a reduction

for substantial assistance, he is not entitled to a reduction under the Guideline Amendment.3

       To the extent that Defendant is requesting relief under the Fair Sentencing Act (“FSA”),

the motion is denied. Since neither Defendant’s conduct nor sentencing occurred after the FSA

was enacted on August 3, 2010, the FSA does not apply to his case.4

       Accordingly, Defendant’s pro se Motion to Reduce Sentence (Doc. No. 53) is DENIED.

       IT IS SO ORDERED this 31st day of October, 2011.


                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE




       3
        See the United States Sentencing Commission’s “Reader-Friendly” Version of the Final
2011 Guideline Amendment Implementing the Fair Sentencing Act, available at
http://www.ussc.gov/Meetings_and_Rulemaking/Materials_on_Federal_Cocaine_Offenses/2011
0428_RF_Amendments_Pages.pdf
       4
         There is a split of authority on whether the FSA applies only to defendants whose
conduct occurred after the FSA was adopted (United States v. Sidney, No. 11-1216, 2011 WL
3477200 (8th Cir. Aug. 10, 2011)) or whether it applies to all defendants who were sentenced
after the FSA was enacted, regardless of when the conduct occurred (See United States v.
Douglas, 644 F.3d 39 (1st Cir. 2011); United States v. Rojas, 645 F.3d 1234 (11th Cir. 2011);
United States v. Dixon, No 10-4300, 2011 WL 3449494 (3d Cir. Aug. 9, 2011)). However, since
Defendant falls into neither category, the split of authority is of no consequence here.

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